                                                                     Case 1:24-cv-00933-DII Document 4 Filed 08/23/24 Page 1 of 1
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.                                                            1:24-cv-933

                                                                                                  PROOF OF SERVICE
                                              (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))


   This summons for Onnit, Inc.
 was recieved by me on 8/20/2024:

                                       I personally served the summons on the individual at (place) on (date) ; or


                                    I left the summons at the individual’s residence or usual place of abode with (name) , a person of suitable age and
                                    discretion who resides there, on , and mailed a copy to the individual’s last known address; or


                                    I served the summons on Kamile Ishiyama Dotson, who is designated by law to accept service of process on behalf of
          X
                                    Onnit, Inc. at 4401 Freidrich Ln Ste 302, Austin, TX 78744 on 08/21/2024 at 2:22 PM; or


                                       I returned the summons unexecuted because ; or

                                    Other (specify)




          My fees are $ 0 for travel and $ 85.00 for services, for a total of $ 85.00.


          I declare under penalty of perjury that this information is true.

                                                                                                            {{t:s;r:y;o:"Signer";w:250;h:45;}}




Date:   08/21/2024
        {{t:t;r:y;o:"Signer";l:"Date";w:70;h:10;v:"13435fa6c2a17f83177fcbb5c4a9376ce85befeb";}}




                                                                                                                                                     Server's signature



                                                                                                                                                 Oluwaseun Omotoso
                                                                                                                                                    Printed name and title



                                                                                                            26222 Polaris Rise Ln
                                                                                                            Richmond, TX 77406


                                                                                                                                                      Server's address




           Additional information regarding attempted service, etc:

           I delivered the documents to Kamile Ishiyama Dotson who identified themselves as the person authorized to accept
           with identity confirmed by subject stating their name. The individual accepted service with direct delivery. The
           individual appeared to be a brown-haired white female contact 35-45 years of age, 5'6"-5'8" tall and weighing 160-180
           lbs.




                                                                                                                                                                  Tracking #: 0140998969
